                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 SHELBY DIVISION

                                CRIMINAL NO. 4:96CR53-11


UNITED STATES OF AMERICA                      )
                                              )
                                              )
               vs.                            )              ORDER
                                              )
ANTHONY BLACKWOOD                             )
                                              )


       THIS MATTER is before the Court on remand from the Fourth Circuit Court of Appeals

for resentencing pursuant to the instructions contained therein. See, United States v. Blackwood,

____ Fed. Appx. ____, 2005 WL 2249910 (4th Cir. 2005).

       IT IS, THEREFORE, ORDERED that this matter is hereby scheduled for resentencing

on THURSDAY, NOVEMBER 10, 2005, AT 9:30 AM, at the U.S. Courthouse in Asheville,

North Carolina.

       IT IS FURTHER ORDERED that the Clerk appoint counsel to represent the Defendant

at resentencing. A revised presentence report is not necessary for this hearing.

       IT IS FURTHER ORDERED that the United States Marshal make arrangements to

have the Defendant transported from his place of incarceration to the hearing and return him

thereto after resentencing. The United States Marshal shall ensure that the Defendant arrives in

this District prior to the hearing date in order that he may be afforded adequate opportunity to

confer with counsel in preparation for the resentencing hearing.

       The Clerk of Court is directed to send copies of this Order to the Defendant, his counsel,

the United States Attorney, the United States Marshal, and the United States Probation Office.



        Case 4:96-cr-00053-MR          Document 39        Filed 09/21/05      Page 1 of 3
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Case 4:96-cr-00053-MR   Document 39   Filed 09/21/05   Page 2 of 3
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                    Signed: September 21, 2005




Case 4:96-cr-00053-MR   Document 39     Filed 09/21/05   Page 3 of 3
